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10                               UNITED STATES DISTRICT COURT
11                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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   PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-05146-YGR-SVK
13 themselves and all others similarly situated,
                                                     [PROPOSED]       ORDER   GRANTING
14                 Plaintiffs,                       GOOGLE LLC’S ADMINISTRATIVE
                                                     MOTION FOR CLARIFICATION OF
15          vs.                                      JUNE 13, 2022 DISCOVERY ORDER (DKT.
                                                     700)
16 GOOGLE LLC,
                                                     Judge: Hon. Susan van Keulen
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            Defendant.
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                                                                 Case No. 4:20-cv-05146-YGR-SVK
                         [PROPOSED] ORDER GRANTING GOOGLE’S ADMIN MOTION FOR CLARIFICATION
     Case 4:20-cv-05146-YGR        Document 705-1        Filed 06/14/22     Page 2 of 2




 1         Google LLC seeks an order clarifying the Court’s June 13, 2022 Order re Discovery Disputes
 2 re RFP No. 5 and Rule 30(b)(6) Deposition (Dkt. 700) (“Discovery Order”). Having considered the

 3 arguments of the parties and the papers submitted, Google’s Motion for Clarification is GRANTED.

 4         Pursuant to the June 13, 2022 Discovery Order:
 5         1.      For any Named Plaintiff litigation hold log data Google processed and segregated in
 6 March 2022 for which Google has not yet provided notice to third-party publishers, Google is to

 7 provide that notice no later than June 15, 2022;

 8         2.      All Named Plaintiff litigation hold log data Google processed and segregated in
 9 March 22, regardless of third-party notification status, must be produced no later than June 30,
10 2022.

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12         IT IS SO ORDERED.
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15    DATED:
                                                      THE HONORABLE SUSAN VAN KEULEN
16                                                    United States Magistrate Judge
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                                               1               Case No. 4:20-cv-05146-YGR-SVK
                       [PROPOSED] ORDER GRANTING GOOGLE’S ADMIN MOTION FOR CLARIFICATION
